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            IN THE UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION
IN RE:                       §
                             §                                               ENTERED
                                                                             04/20/2018
Garden Oaks Maintenance      § CASE NO.    18-60018
Organization, Inc.           § Chapter 11
     DEBTOR                  §
                             §

                    ORDER AUTHORIZING DEPOSIT OF FUNDS
                           [Relates To Docket #_______]
                                                 6
It is
        ORDERED that the Debtor shall immediately deposit the following checks
into its Compass money market account – XXX-7245:
          a. Check #18000672         $2,737.50    220 W. 34th St.    Brown
          b. Check #61066            $3,321.75    232 W. 30th St.    Seabolt
          c. Check #2008809          $4,837.50    403 W. 31st St.    Painter
          d. Check #65111329         $4,350.00    511 W. 31st St.    Houston
          e. Check #128182           $5,188.96    524 W. 30th St.    Neely
          f. Check #521035060        $4,162.50    734 W. 42nd St.    Yu/Irvin
          g. Check #90024619         $5,482.50    748 W. 42nd St.    Maldonado
          h. Check #129112           $3,900.00    753 W. 42nd St.    Gary
          i. Check #2008093          $4,470.00    807 W. 42nd St.    Bonner
          j. Check #1517             $10,654.21   823 W. 41st St.    Street
          k. Check #2008403          $4,425.00    866 Lamonte Ln.    Berg
          l. Check #2008417          $6,315.00    1023 Althea Dr.    Kunz/Pauls
          m. Check #129596           $2,925.00    1063 W. 43rd St.   Eason
          n. Check #65112986         $3,315.00    1066 W. 42nd St.   GMS Int.
          o. Check #586016439        $4,500.00    1075 W. 41st St.   Escobedo
          p. Check #2008333          $3,131.73    1083 W. 41st St.   Soto
          q. Check #2008105          $3,435.00    1547 Sue Barnett   Shinn/Walt
          r. Check #65110392         $3,037.50    4211 Apollo St.    Hans
          s. Check #685000877        $1,980.00    4303 Apollo St.    Harris

and it is further
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      ORDERED that the Debtor shall not utilize these funds for any purpose
without further order from this Court.


   Signed:
  Dated:   April 20, 2018.
         ______________
                                         ____________________________________
                                        DAVID R. JONES
                                ____________________________________
                                UNITED UNITED
                                        STATESSTATES   BANKRUPTCY
                                                  BANKRUPTCY      JUDGE
                                                               JUDGE
